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    )
                                 20-3855
    )
    )
               UNITED STATES COURT OF APPEALS
    )
                   FOR THE SECOND CIRCUIT
    )
    )
    )
    )         DEBBIE-ANN BROMFIELD-THOMPSON,
    )
    )                      Plaintiff-Appellant,
    )
    )                                V.
    )
    )    AMERICAN UNIVERSITY OF THE CARIBBEAN,
    )
    )         MANI PAL EDUCATION AMERICAS, LLC,
    )
    )     NATIONAL BOARD OF MEDICAL EXAMINERS
     )
     )                   Defendants-Appel lees.
    )
    )
    )
    )      On Appeal from the United States District Court
.   )          for the Southern District of New York
    )
    )
     )
    )         Brief of Debbie-Ann Bromfield-Thompson
    J                                                                                    ::0
     )        Debbie-Ann Bromfield-Thompson, pro se                                      r11
                                                                                        C)
    )               1405 Kennedy Street, N.W.                                           !"tl
                                                                               -.,..J
     )                Washington, D.C. 20011                                   ---.
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    J                Telephone: 202-538-7338                      _;

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    )
    )         Prose Appellant obtained substantial assistance from an attorney in
    )                                preparing this brief.
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    )
    )                          STATEMENT OF SUBJECT MATTER
    )                           AND APPELLATE JURISDICTION
    )
    )             Appellant brought suit against American University of Antigua (AUA)
    )
    )       and Manipal Education Americas, LLC seeking redress for unlawful
     )
    )       discrimination on the basis of disability under the Rehabilitation Act and the
    )
    )
            American With Disabilities Act in the United States District Court for the
'   )
            Southern District of New York. American University of Antigua (AUA) is an
    )
    )
            offshore medical school located and incorporated on the Island of Antigua,
    )
    )
            but maintains an office at 1 Battery Plaza, 33rd Floor, 33rd Floor, New York,
    )
     )      New York 10004, which purpose is to serve as a central location to
    )
     )      organize clinical rotations for students whom have completed their first 2
    )
    )       years of education on the Island of Antigua. Manipal Education Americas,
    )
    )       LLC acts as an agent of AUA, and also maintains an office at 1 Battery
    )
    )       Plaza, 33rd Floor, New York, New York, 10004.
    )
    )             Appellant was never a student in Antigua because she had completed
    )
            her first two years of course work at a different offshore medical school
    J
    )
    )
    j   '                                    Page 6 of 42
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    )
,)                 Case 20-3855, Document 38, 02/26/2021, 3047205, Page7 of 45
    )
    )
    )    prior to transferring to AUA in the Fall of 2010. Upon transferring to AUA,
    )
    )    Appellant completed her first clinical rotation in New York City in 201 0
   )
'.-)     under the direct supervision of AUA.
,)
    )          Although Appellant is a resident of Washington, D.C., she has had
    )
    )    hundreds of contact with AUA and MEA's New York City office over the
    )
    )    course of 6 years as reflected in emails and telephone calls with
    )
    )    administrators located at the address at 1 Battery Plaza, New York, New
    )
    )    York 10004. That office scheduled all of Appellant's clinical rotations and
    )
         exams (except for a few rotations that Appellant scheduled on her own). At
    )
    )
         the time of Appellant's termination from the school she was 3 credit hours
    )
    )    shy of graduation and obtaining her MD. She had attained a 3.65 GPA out
    J
    )    of the maximum 4.0.
    )
.   )         Appellant's Complaint was predicated on Section 504 of the
    )
    )    Rehabilitation Act of 1973; Section 29 U.S.C., Sections 701 and 794, et
    )
    )    seq; 29 U.S.C. Section 705(201 ); and the American With Disabilities Act of
    )
    _)   1990, 42 U.S.C. 12111, et seq and 42 U.S.C. Sections 12201-12204 and
    j
     )   12210.
    )
    )         The district court dismissed Appellant's claims against AUA pursuant
    )
    )
         to FRCP Rule12(b)(5) (insufficient service of process) and entered a
    )
    )                                     Page 7 of 42
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     )               Case 20-3855, Document 38, 02/26/2021, 3047205, Page8 of 45
     )
    )
    1
     )
         dismissal against MEA, LLC pursuant to FRCP Rule 12(b)(6) (failure to
 )
 )       state a claim upon which relief may be granted).
1)
')               This appeal is from a final order as the district court has
    )
     )   dismissed Appellant's claims without prejudice. Because the statute
 )
 )       of limitations on Appellant's dismissed claims has expired, they cannot
 )
 )       be timely refiled. Therefore, the district court's order is final as to the
 )
 )       dismissed claims. The district court declined to rule on defendant's
 )
 )       dismissal on grounds of forum non conveniens and jurisdictional
·)
~)       claims.
 )
1)               The district court's jurisdiction was also predicated on 28 U.S.C.
 )
 )       Section 1331, et seq., because a "substantial part of the events or
.    )
     )   omissions giving rise to the claim" occurred from AUA/MEA, LLC's office in
    )
     )   New York City.
     )
     )           Judge Jessee Furman issued his Opinion and Order and Judgment
     )
     )   on October 13th, 2020. Appellant noted her appeal on November 12th,
    _)
         2020.
     J
'    )
                 This court has jurisdiction pursuant to 28 U.S.C. Section 1291.
     )
    _)
     )
    J
     )                                      Page 8 of 42
    _j
    _)
 )
,)               Case 20-3855, Document 38, 02/26/2021, 3047205, Page9 of 45
:)
,)
)
)
)
.)
 )           STATEMENT OF THE ISSUES PRESENTED FOR REVIEW
 )
 )    1.    The trial Court abused its discretion by dismissing Appellant's claims
 )
 )    against American University of Antigua ("AUA") for insufficient service of
t)
,)    process.
 )
,)    2.    The trial Court committed plain error by failing to properly consider
 )
 )    and evaluate documentary evidence in the form of photographs taken on
 )
,)    the day of service and showing that MEA held itself out as an agent of AUA,
 )
      and therefore, service was proper.
 )
1)
      3.    Whether under legal principal/agency principles AUA is estopped
 )
 )
      from contesting service.
 }
 )    4.   The trial court plainly erred in prematurely dismissing MEA, LLC from
 )
,)    the lawsuit on the ground of failure to state a claim given that AUA and
 )
 )    MEA, LLC may have been engaged in a "joint venture" with respect to the
 )
 J    operation of the medical school. AUA also presented documents showing
_)
 )    an "independent contractor" relationship with AUA.
 )
 )
 )
 )
  )
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 _/
                                        Page 9 of 42
_)
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            )
:)                        Case 20-3855, Document 38, 02/26/2021, 3047205, Page10 of 45
    i       )




         )
         )
         )
            )
    \       )                           STATEMENT OF THE CASE
            )
    '       )         On June 27th, 2019 Appellant filed a Complaint against American
        )
            )   University of Antigua and its agent Manipal Education Americas, LLC and
            )
\       )       the National Board of Medical Examiners, alleging discrimination under the
    .   )
        )       Rehabilitation and the American With Disabilities Acts in the United States
        )
        )       District Court for the Southern District of New York. American University of
            }
     )
                Antigua, Inc., is a corporation organized under the laws of Antigua and
     )
    -)          Barbuda, a foreign country located in the Caribbean ("AUA"). Manipal
            )
                Education Americas, LLC, is a New York Limited Liability Company
        )
        )
                ("MEA"). (App. at 72).The Complaint also alleged various New York state
         )
            )   tort, contract, and disability discrimination claims which were dismissed and
            )
         )      not germane to this appeal.
         )
        )            Judge Jessee M. Furman presided over the case. On October 4th,
        )
            )   2019 Appellant served both AUA and MEA,LLC which service was
        )
        )       accepted by Anita O'Brien in the legal department of both entities. (App. at
         )
.        )       65). On November 11th, 2019 NBME filed a motion to dismiss on

         )
                jurisdictional grounds. On November 13th, 2019 the Court ordered
        )
        )
                                                 Page 10 of 42
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            )
,)                        Case 20-3855, Document 38, 02/26/2021, 3047205, Page11 of 45
    '.)
    ')
     )          Appellant to file an amended complaint by December 23, 2019 to cure any
    :)
     )          deficiencies identified in NBME's complaint. The court noted that "Plaintiff
    :)
         )      will not be given any further opportunity to amend the complaint to address
,)
         )      issues raised by the motion to dismiss." (App. at 6)
 )
 )                    On November 18th, 2019, the Court gave AUA/MEA, LLC and NBME
:)
        )       an opportunity to file a consolidated response, and instructed "If Plaintiff
         )
        )       believes that the pleading of additional facts will cure deficiencies identified
         )
        )       in either NBME's motion to dismiss or American University and Manipal's
        )
                motion to dismiss, or both, then Plaintiff should include those facts in an
        1
    -   )
                amended complaint to be filed by January 13th, 2020. Plaintiff will not be
,)
')              given any further opportunity to amend the complaint to address issues
 )
,)
                raised by either motion." (App. at 7).
    ,)
         )            On December 4th, 2020 AUA/Manipal Education Americas, LLC filed
         )
         )      its Motion to Dismiss and Memorandum of Law In Support thereto. On
'        )
         )      January 14th, 2020 Bromfield-Thompson filed her First Amended
        )
        J       Complaint. On February 4th, 2020 both NBME and AUA/MEA, LLC filed
        J
        )       separate motions to dismiss the First Amended Complaint. On March 5th,
        J
         )      2020 Bromfield-Thompson filed her Opposition.
        _)
        _)
                      On October 13th, 2020 Judge Furman issued an Order and
        )
         )                                       Page 11 of 42
        -_}

        J
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,)                            Case 20-3855, Document 38, 02/26/2021, 3047205, Page12 of 45
            )
            )
            )
            )
                    Judgment as follows: (1) dismissing all claims against AUA without
            )
            )       prejudice for insufficiency of service; dismissing all claims against NBME
            )
            )       for lack of personal jurisdiction; and dismissing all claims against MEA for
            )
            )       failure to state a claim. The Court declined to sua sponte grant Bromfield-
                )
    I       )       Thompson leave to amend, noting that Bromfield-Thompson had not
                )
        1           sought leave to amend nor "did she suggest that she possesses additional
            )
            )       facts that could cure the defects in her dismissed complaint." Furthermore,
            )
                    the Court stated that he had warned that no further opportunity would be
        J
            )
                    given "to amend the complaint to address issue(s) raised by the motion(s)
        )
        J           to dismiss." (Apps. at 23, 29-30 ).
I           )




            )
                          Although the Court dismissed the claims against all the defendants
            )
            )       without prejudice, the statute of limitations has run on all claims set forth in
            )
            )       the dismissed complaint.
            )
            )             On November 12th, 2020 Bromfield-Thompson filed her Notice of
            )
            )       Appeal. (App. at 32).
            )
            )             Bromfield-Thompson's brief will set forth arguments regarding the
            )
            )       dismissal of claims against AUA/MEA, LLC only.
            )
                          Bromfield-Thompson and NBME has agreed that they will enter into a
        J
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            j

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        )                                             Page 12 of 42

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     )
    )
    -)
    )       stipulated dismissal of her appeal relating to NBME.
    )
    )
    )
    )                               STATEMENT OF FACTS
     )
     )            On January 5th, 201 O AUA, an offshore medical school located
    )
     )      on the Island of Antigua, admitted Bromfield-Thompson to its medical
     )
    )       school as a 5th semester transfer student from St. Matthews
    -J
 )          University, an offshore medical school located on the Island of Grand
 )
-)
            Cayman. (App. at 33). Although Plaintiff was accepted for the May
-)
 )
            20th, 201 O semester, her admission was deferred until the Fall of 201 O
     )
    ~




    )
            because AUA was unable to grant her request to commence clinical
     )
    )
            rotations at their New York City site which was closer to her residence
    )
     )
            in Washington, D.C. (App. at 46) Ultimately, in the Fall of 201 O
    )
    )
            Bromfield-Thompson began her rotation at AUA/MEA New York City
    )
     )
            site at Wycoff hospital in internal medicine.
    )
     )
    -            On December 14th, 201 O Bromfield-Thompson sought
    J
-    )
     )
            accommodation from AUA/MEA to sit the shelf exam. (App. at
     ')
            33)AUA/MEA were unsure about what to do because it was the first
     )
     )
     )
            time a student had requested accommodation to take the exam, and
        )

     )                                      Page 13 of 42
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     )
                  Case 20-3855, Document 38, 02/26/2021, 3047205, Page14 of 45
 )
 )
 )
)
 )       they had no department or personnel on board in the United States to
 )
 )
         handle accommodation requests. It was suggested that Bromfield-
)
)
         Thompson should contact Dr. Rice in the country of Antigua because
)
 )
         he was the person who taught psychology courses at that AUA/MEA
 )
 )
         school. Bromfield-Thompson contacted Dr. Rice and sent him via
 )
-1
         facsimile a 28-page report from her clinical psychologist detailing her
 )
 )
         need for accommodation. (App. at 33). Bromfield-Thompson took and
-1
-)
         passed the ICM exam after being granted accommodation of time and
 )
 )
         a half. (App. at 47).
 )
 )
               Bromfield-Thompson waited roughly seven months to obtain her
)
)
         next rotation because AUA/MEA lacked sufficient sites for its clinical
)
 )
         rotations in the United States. (App. at 47). Bromfield-Thompson
 _)
 )
         began a clinical rotation in Family Medicine at Maryland General
J
)
         Hospital in July 2011 which ended in October 2011. (App. at 47).
 )
)
)
         Bromfield-Thompson was scheduled to begin her next clinical rotation
 )
         in November 2012, a wait of a little more than a year because AUA/
)
)
         had limited clinical sites for its students. (App. at 47-48).Prior to
 )

 )                                       Page 14 of 42
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              Case 20-3855, Document 38, 02/26/2021, 3047205, Page15 of 45
)
-)
)
)
     the start of the clinical rotation Bromfield-Thompson was contacted by
)
)
     her clinical coordinator, Maria Pimentel, from New York City, who told
)
)
     her that the rotation had to be cancelled in favor of students whose
)
)
     graduation were imminent. Bromfield-Thompson was not assigned
)
)
     any other clinical rotation until September 2012, an eleven month wait.
)
)
     (App. at 48).
)
)
          Because AUA had few sites for clinical rotations Bromfield-
)
)
     Thompson sought and was able to obtain clinical rotations in
)
)
     Baltimore, Maryland. (App. at 47).Thus, even though Bromfield-
)
)
     Thompson began attending AUA/MEA for clinical programs beginning
)
)
     in the Fall of 2010, she was only assigned two clinical rotations by
 )
 )
     AUA in a 2-year span. (App. at 47). By the time AUA
)
 )
)
     started assigning clinical rotations to Bromfield-Thompson on a
)
)
     consistent basis, the school had changed policies by instituting a
)
)
     requirement that all students should sit shelf exams and the
 )
)
     Comprehensive Clinical Shelf Exam (CCSE) (App. at 47).The shelf
)
)
     exams and CCSE exam were old exams sold to the school by NBME,
)
)
 \   which in turn used these exams to measure students proficiency in a
)

                                     Page 15 of 42
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                 Case 20-3855, Document 38, 02/26/2021, 3047205, Page16 of 45
)
)
)
)
)
        variety of subject areas before allowing students to sit for the official
 )
)
        exams administered by NBME. When Bromfield-Thompson became
)
)
        eligible to take her shelf exam, she discovered that no arrangements
')
 )
        had been made for accommodations at the exam site, despite the fact
)
)
        that AUA/MEA had a 28-page report detailing her need for
)
)
        accommodation on file. When she asked that the exam be re-
)
 )
        scheduled she was told by AUA/MEA personnel in New York City
)
)
        office that the school had not received her notice in time to do so.
)
)
 )
        Bromfield-Thompson took the exam without appropriate
)
        accommodation and failed. (App. at 48). Bromfield-Thompson notified
)
 )
        the Dean of Clinical Science, Dr. Peter Bell, in AUA/ MEA's New York
 )
    )
        City office about AUA's failure to recognize that she needed
)
 )
        accommodation even though she had submitted a report to them.
)
_j  I
)
        (App. at 48). Subsequently, AUA/MEA arranged for proper
)
 )      accommodation and Bromfield-Thompson re-took the exam and
)
 )      passed with a score that exceeded the minimum score required by
 )
)
        AUA/MEA. The same was true with respect to the OB/GYN exam
 )
)
 )                                      Page 16 of 42
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I    )

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    )
    )
    )
    )    whereupon being given appropriate accommodation Bromfield-
    )
    )
         Thompson achieved a passing grade in excess of the minimum
    1
,)
         required by AUA/MEA. (App. at 48).
    1
')             As a result of Bromfield-Thompson's complaints regarding her
    )
    )    lack of accommodation AUA/MEA instituted a new policy to the effect
    )
    )
         that students seeking accommodation were required to notify the
    )
    )
         administration within 5 business days from the start of any clinical
    )
-1       rotations or exams.
    )
    )
               On June 11th, 2015 Bromfield-Thompson was administratively
     )
    )
         withdrawn from AUA/MEA. (App. at 48). The reason for the
    )
     )
         withdrawal was vigorously disputed. AUA contended that Bromfield-
     )
     )
         Thompson had to be withdrawn because a student who has been
     )
    )
         inactive for more than 6 months is subject to administrative
    )
    )
         withdrawal. Bromfield-Thompson challenged the decision because
    )
    )
         her second child was born in June 2015 and in the period leading up
    )
    )
         to the birth she was unable to travel for clinical rotations. (App. at 48).
    J
    )
    )
              On June 17th, 2015 AUA/MEA re-admitted Bromfield-Thompson
    )
    )
         to the medical school, but set forth the condition that she was required
    )
    )                                    Page 17 of 42
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     )
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    )
    )
    )
         to complete the remaining requirements for graduation no later than
    )
     )
         "March 31, 2016," a daunting schedule given Bromfield-Thompson's
    )
    )
         disability and AUA/MEA's unreliability in arranging for accommodation
     )
    )
         and in assigning clinical rotations on a regular basis. (App. at 48).
    )
    )
         AUA/MEA also conditioned Bromfield-Thompson's re-admission on
    )
-   '\
    ·'
    )
         passage of the GCSE practice exam with a score of at least 79 in
     )
         order to be certified to sit the USMLE Step 2 CK. (Apps.
-)
    )
         48-49). Pursuant to AUA/MEA's written policy at the time Bromfield-
    )
    _)
         Thompson was able to sit the exam for an unlimited number of times
     )
    )
         until passage. (App. at 34). The policy was later modified to
    )
    )
         three attempts students for who entered their 4th year in 2015, but
    )
    )
         this modification did not apply to Bromfield-Thompson. According to
    )
    )
    )
         AUA/MEA, failure to satisfy the requirements by the set date would
    )
    )
         result in dismissal. (App. at 47). The new requirements imposed by
    )
    )
         AUA/MEA were not in effect at the time Bromfield-Thompson had
    )
    )
         enrolled with the school. Bromfield-Thompson was of the belief that
    )
    )
         AUA was planning to retaliate against her for having vigorously
     )

    )
    )                                    Page 18 of 42
    )

    )
    )
                     Case 20-3855, Document 38, 02/26/2021, 3047205, Page19 of 45
    )
    )
    )
    )       advocated for reasonable accommodation.
    )
    )
                       Bromfield-Thompson failed the exam on her first three
    )
-   )
            attempts (8-22-2014, 10-24-2014, and 8-28-2015). (App. at 48).These
    )
    )
            failures were attributable to the fact that Bromfield-Thompson was
    )
    )
            accommodated with only one and a half time the duration of the exam.
    )
    )
            Bromfield-Thompson's clinical report on file with AUA/MEA had
    )
.   )
            recommended up to double time for the taking of all exams.
    )
    )
            Recognizing that her failure had nothing to do with her level of
    )
    )
            preparation, Bromfield-Thompson contacted Dr. Bell, Dean of Clinical
    )
    )
            Studies in New York City, who advised her to contact Dr. Rice on the
    )
    )
            Island of Antigua. (App. at 34-35). Bromfield-Thompson wrote to Dr.
    )
    )
            Rice seeking double time who in turn responded that she needed to
    )
    )
            justify the request with recent testing certifying that she was dyslexic.
    )
    )
            To expedite the process, Bromfield-Thompson sent a letter to Dr. Rice
    )
    )
            from her clinical psychologist justifying the need for double time. Dr.
    )
.   )
            Rice granted the request provisionally pending receipt of the full
    )
    )

    )
            report. Dr. Rice communicated his approval through AUA's New York

        )
            City office, but it came too late for Bromfield-Thompson to sit the
    )
    )                                       Page 19 of 42
    )
     )
                  Case 20-3855, Document 38, 02/26/2021, 3047205, Page20 of 45
')
    )
    )
    1
     )   GCSE exam with double time. (App. at 48). Like the first report in
'}
--i      2010, the full report from Dr. Rachna Varia was sent to Dr. Rice in
    )
    )
         October 2015.
    )
    )         On November 25th, 2015 Bromfield-Thompson took the GCSE
.   )
'    )   exam for the first time with double time accommodation which was
     )
-)
         unlike the previous three attempts which had given her one and a half
     )
    )
         extended time. Bromfield-Thompson sat the exam for 9 straight hours
    )
    )
         without breaks in between and suffered excruciating pain in her feet in
     )
    )
         the last two hours, resulting in Bromfield-Thompson
    )
    )
         guessing a significant number of answers just to get through the
    )
     )
         exam. (App. at 35). According to the proctor at the NBME sponsored
    )
    )
         site, she was not allowed to take breaks. (App. at 35).After
    )
    )
         Bromfield-Thompson was notified that she did not attain the required
     )
     )
         score on the exam, she contacted NBME directly to complain about
    )
    )
         the conditions under which she had previously taken the exam :either
     )
    )
    ~)   not being given sufficient time or in the one instance when she was
    J
     )
         given double time she got no breaks in between. NBME explained
     )
    )
    )                                    Page 20 of 42
    _)
    )
     )
                   Case 20-3855, Document 38, 02/26/2021, 3047205, Page21 of 45
     )
     )
     )
     )
          that the USMLE Step 2 CK exam which mirrored the practice exam in
     )
     )
          length and complexity was given over a 2-day period, and suggested
-•
  )
          that Plaintiff contact AUA/MEA to determine whether AUA would be
   )
  )
          willing to find a site where Bromfield-Thompson could take the exam
  )
' )
          over a 2-day period. NBME promised that it would proctor such an
  )
,)
          exam.
 )
 )
                On January 15th, 2016,Cheri Kershen, Manager NBME Test
 )
-)
          Administration, copied Bromfield-Thompson on a letter she had sent
 )
 )
          to AUA describing the procedures under which Bromfield-Thompson
 )
 )
          was able to sit the GCSE exam over a 2-day period (App. at 59).
 )
     )
          According to Ms.Kershen, AUA/MEA could attempt to make
     )
     )
          arrangements with an NBME approved site for Bromfield-Thompson to
     '}
 _)
 )
          sit the exam. AUA/MEA was unable to locate an approved site. Dr.
 _)
     )
          Peter Bell, Dean of Clinical Science for AUA/MEA, referred Bromfield-
     )
     )
          Thompson to AUA's Ombudsman to assist in finding a site, but he had
     )
          no understanding but he was unable to do so. Dr. Bell also referred
 J
 )
 )
          the matter to Dr. Juli Valtschanoff, AUA's Chief Proctor in Antigua,
 )
          someone with whom Bromfield-Thompson had never before
 )
 /
     l                                    Page 21 of 42
 J
 )
    )
                     Case 20-3855, Document 38, 02/26/2021, 3047205, Page22 of 45
    )
    )
    )
    )
        )
            interacted. Dr. Valtschanoff sent Bromfield-Thompson an email
    )
•           stating that he was unable to locate a site for taking the exam over a
    )
    )
            2-day period, and advised her to "take the exam like any other student
    )
    )
            needing accommodation." (App. at 50).
    )
    )
                 Because of AUA's delay in finding a site to accommodate
     )
    )
            Bromfield-Thompson, the March 31st deadline imposed by AUA/MEA
    )
    )
            for completion of all exams and courses became unrealistic.
    )
    )
            Consequently, Dr. Bell extended the deadline to July 31st, 2016. (App.
    )
    )
            at 50). It took AUA/MEA 8 months from the time of Bromfield-
    )
    )
            Thompson's last unsuccessful attempt (November 25th, 2019) to
    )
    J       schedule the exam with breaks. (App. 50-51 ). Bromfield-Thompson
    )
.   )
            took the exam on July 1st, 2016. This came about as a result of an
        )
'    )
    )
            arrangement with NBME, AUA/MEA New York City office, and the pro
     )
        )
            metric center located in Virginia to add more than double time to
    J
-       )
            enable Bromfield-Thompson to take breaks. The way the plan was
    J
    -)      designed to work was that an extra one hour and four minutes would
        )
    )
            be built into the exam to enable Bromfield-Thompson to take breaks.
        )

    j
        \

        )                                   Page 22 of 42
    )
    )
 )
,)                     Case 20-3855, Document 38, 02/26/2021, 3047205, Page23 of 45

     )
         )
     )
             However, the exam which was computerized would not stop running
     )
     )
             during these breaks. Although Bromfield-Thompson believed that the
     )
     )
             plan was flawed, she felt she had little choice but to go along given the
.·   )J
     )
             deadline for completion imposed by AUA/MEA. (App. 51-52).
         )
     )
             On July 1st, 2016 Bromfield-Thompson took the exam and sat for 11 hours
         )
     )       at a desk which had a large metal sheet underneath which blocked her
     )
     )       from stretching her legs. When Bromfield-Thompson took breaks the exam
     )
     )       continued to run and when she returned to continue the exam the screen
         )
     )       would go blank. Each time Bromfield-Thompson would notify the proctor of
     1
     )       the problem whereupon the proctor would call in to the technical
         )
     )       department for assistance. Each time Bromfield-Thompson returned from
     )
     )       a break she had to be patted down, an ordeal that caused her to panic
     )
     )       even more because these extra delays caused time to run even more.
     )
             (App. at 50-51 ).
         )
     )
                   Despite the extra time allotted, Bromfield-Thompson experienced
         )
     )
             fatigue and pain which convinced her even more that the practice exam
     ')
-    _1


     )
             ought to have been given under the same conditions as the official exam :2
     l
     )       days of 4 hours each day with breaks in between with the clock stopped
         )
. _/


.)           during breaks. (App. 51 ).
         )

     )                                       Page 23 of 42


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 )
                   Case 20-3855, Document 38, 02/26/2021, 3047205, Page24 of 45
 )
 )
 )
 )
 )             At the end of the July 1st, 2016 double time exam, the proctor gave
 )
 )       Bromfield-Thompson a card to call with a prometric number to call in the
'.)
         event someone needed to verify the issues that arose during the taking of
  )
  )      the exam. Although this information was furnished to AUA/MEA there is no
     )
 )       indiction that anyone called Prometric for verification. Bromfield-Thompson
 )
 )       received a score of 72 on the exam, seven points short of the 79 required
 )
 )       for passing. (App. 52).
 )
  )
               Bromfield-Thompson sent a letter to AUA/MEA explaining that the
 )
         decision to have her sit an exam for an 11 hour period with breaks while the
 1
 )
         exam ran was not reasonable accommodation. She received the following
 )
 )       letter from Kristal Booth, Registrar for AUA:
 )
 )            I am sorry to hear of the personal issues you faced with this exam.
 )           AUA's efforts (along with NBME and Prometric to accommodate your
 )           testing needs have been more than reasonable and unfortunately
  )          we are unable to accommodate another attempt at this exam. This
  )          email is to confirm that based on your recent score, you have been
 )          dismissed from the University. You will receive a formal letter of
  )         dismissal from the Promotions Committee within 1-2 days. If you wish
 )          to appeal this decision, you may do so at this time.
 )
 )       In response, Bromfield-Thompson sent an email noting that this was the
 )
  )      first time that AUA/MEA had given a "halfway decent. .. but less than ideal
 _)
     )
         accommodation" with respect to the GCSE practice exam. Bromfield-
     )
 )                                        Page 24 of 42
  )
                    Case 20-3855, Document 38, 02/26/2021, 3047205, Page25 of 45
 )
 )
 )
 )
 )        Thompson accused the school of basing its approach to accommodation
 )
~         on "trial and error." Bromfield-Thompson characterized the efforts at
 )
 )        accommodating her as flawed because of the failure to accommodate her
 )
 )        over a 2-day period as was recommended by NBME. (APP. at 61).
 )
 )              Bromfield-Thompson appealed AUA/MEA's decision to dismiss her
 )
-)        from the medical school. On July 17th, 2016 the AUA Appeals Committee
  )
 )        acknowledged receipt of the appeal. However, the merits of Bromfield-
--)
          Thompson's appeal were never addressed. At the time of Bromfield-
 )
  )
          Thompson's dismissal she had incurred student loan debts in excess of
 )
  )
          $200,000.00 in pursuit of her medical license.
  )
 )                            SUMMARY OF THE ARGUMENTS
 )
 )        A.   The district court's warning that Bromfield-Thompson would be
 )        given just one opportunity to amend her complaint to cure deficien-
    )     cies appeared to be a warning as to the substance of the complaint
    )     as opposed to a procedural deficiency that required serving or re-
    )     serving a foreign corporation outside the geographical boundaries of
    )     the United States.
     )
 )        B.   AUA ought to be estopped from disclaiming service because
 )        MEA, LLC acted as their agent under legal principles of principaV.
     )    agent and had the actual or apparent authority to accept service on
          behalf of AUA.
l
 )
          C.    MEA, LLC had the apparent authority to accept service on be-
     _}
          half of AUA.
 )
     )
 )                                        Page 25 of 42
 )
     )
                  Case 20-3855, Document 38, 02/26/2021, 3047205, Page26 of 45
 )
 )
)
)
)        D.    The trial court plainly erred in dismissing MEA, LLC from the
)        lawsuit for failing to state a claim upon which relief may be granted
)        given that AUA and MEA, LLC may have been engaged in a "joint ven-
)        ture" with respect to operation of the medical school. Additionally,
)        AMEA, LLC has acknowledged an "independent contractor relation-
)        ship" with AUA.
)
)                                       ARGUMENT
J
)        Standard of Review
 )
)             A district court's dismissal for improper service pursuant to
)
 )       FRCP Rule 12(b)(5) is reviewed under the abuse of discretion
)
)        standard. A district court has abused its discretion if it has 1) based its
)
)        ruling on an erroneous view of the law, (2) made a clearly erroneous
)
)        assessment of the evidence, or (3) rendered a decision that cannot be
 )
.)       located within the range of permissible decisions. Lynch v. City of
     )

 )       N. Y., 589 F.3d 94, 99 (2d Cir. 2009). Dickerson v. Napolitano, 604 F.3d
 )

)        732, 740 (2d Cir. 2010). If a defendant moves to dismiss under Rule
J
)        12{b)(5) the plaintiff bears the burden of showing adequate service.
)

     )   Burda Media, Inc. v. Viertel, 417 F.3d 292, 298 (2d Cir. 2005). Thus, a
     )

-)       district court will not be reversed for inadequate service unless the

 l       appellant can advance some colorable excuse for neglect. Meilleur v.
 )
     1
 /


 )                                       Page 26 of 42
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     )
                   Case 20-3855, Document 38, 02/26/2021, 3047205, Page27 of 45
 )
'-)
 )
 )
         Strong, 682 F.3d 56,61 (2d Cir. 2012); Zapata v. City of N. Y., 502 F.3d
 )
 )
 -)
         192,197 (2d Cir. 2007). A district court abuses its discretion when,
 )
         among other things, it dismisses a complaint sua sponte for lack of
 )
 )
         service without first giving notice to the plaintiff nor providing an
 )
 )
         opportunity for her to show good cause for the failure to timely effect
 )
 )
         service. Zapata, 502 F.3d at 197.
-)
 )
               Dismissal under Rule 12{b)(6) for failure to state a claim triggers
 J
-)
         de novo review. Brandon Cleveland and Isiah Jackson v. Cap/aw
 _)
 )
         Enterprises, 448 F.3d 518 (2d Circuit 2006).Thus, the court must
 )
 )
         accept the factual allegations in the complaint as true, unless it
 )
 )
         appears that the plaintiff can prove no set of facts in support of his
 )
 )
 )
         claim which would entitle him to relief. Sheppard v. Beerman, 18 F.3d
 )
         147, 150 (2d Cir. 1994) citing Conley v. Gibson, 355 U.S. 41, 45-46,
 J
 )
 )
         78 S. Ct. 99, 2 L.Ed.2d 80 (1957). This standard is applied particularly
 )
 )
         strictly when the plaintiff complains of a civil rights violation. Irish
 )
 )
         Lesbian & Gay Org. v. Giuliani, 143 F.3d 638, 644 (2d Cir. 1998) citing
 )
     )
         Branum v. Clark, 927 F.2d 698, 705 (2d Cir. 1991 ).
 )
     )        The district court's warning to Bromfield-Thompson that
 )
 )                                       Page 27 of 42
 J
     )
 )
-)                Case 20-3855, Document 38, 02/26/2021, 3047205, Page28 of 45
-)
 )
 )
             she would only be given one opportunity to amend her
 )
             complaint appeared to be a warning as to the substance of
 )
             the complaint as opposed to a procedural deficiency that
 )
             required serving or re-serving a foreign corporation outside
 )
             the geographical boundaries of the United States.
 )
 )
             On November 18th, 2019 the district court warned Bromfield
 )
 )
        Thompson: "If Plaintiff believes that the pleading of additional facts will
 )
 )
        cure deficiencies identified in either NBME's motion to dismiss or
-)
 )
        American University and Manipal's motion to dismiss or both, then
J
 )
        Plaintiff should include those facts in an amended complaint to be filed
)
)
        by January 13th, 2020. Plaintiff will not be given any further
)
)
        opportunity to amend the complaint to address issues raised by either
)
 )
        motion." (App. at 7). Thus, Plaintiff interpreted this warning as
 )
)
        relating to deficiencies concerning the substance of her complaint, not
)
)
        to the procedural technicality of the adequacy of service. In fact, on
 J
)
        January 14th, 2020 Bromfield-Thompson filed her First Amended
J
)
)
        Complaint in which she made substantive changes. (App. at 9).
 )
)
             On February 4th, 2020 AUA filed its motion to dismiss in which it
J
        raised the issue of inadequate service. In response, Bromfield-
J
    )
 )
        Thompson proffered an affidavit from the process server averring that
j
)                                       Page 28 of 42
_)
)
 )
               Case 20-3855, Document 38, 02/26/2021, 3047205, Page29 of 45
)
)
)
)
 )
      he did effectuate personal service on AUA by visiting 1 Battery Park
 )
 )
      Plaza and handing the summons and complaint to Anita O'Brien at the
 )
 )
      offices of AUA and MEA, LLC. (App. at 65). Bromfield-Thompson's
 )
 )
      response also attached two photographs that the process server had
 )
 )
      taken around the time of service. (App. at 66-67). One photograph is
 )
-)
      "time-stamped" around the time he served AUA/MEA, LLC. (App. 66).
 )
J          The court did not render its decision on AUA's motion to dismiss
 )
 )
      until October 12th, 2020 (of course the COVID virus was raging in
 )
)
 )
      New York City throughout this period), some 8 months after the last
 _/




 )
 )
      pleading had been filed. Indeed, Bromfield-Thompson believed that
 )
 )
      she had heeded the court's warning by filing an amended complaint
 )
      and by furnishing photographs and an affidavit from the process
 )
 )
 )
      server affirming that he had served MEA, LLC which had acted as an
 )
 )
      agent for AUA in receipt of the summons and complaint. See Irish
 )
)     Lesbian & Gay Org. v. Giualin, 143 F.3d 644, supra. Thus, throughout
)
)     this period of time, Bromfield-Thompson was of the belief that she had
 )
 )
      effected valid service on AUA. In other words, Bromfield-Thompson
 )
 )
 )                                   Page 29 of 42
_)
)
)
                 Case 20-3855, Document 38, 02/26/2021, 3047205, Page30 of 45
)
)
)
)       was of the view that she had satisfied the court's concerns. In this
    )
)
        regard, the court abused its discretion in dismissing the complaint
)
)
        without granting Bromfield-Thompson leave to amend to the extent the
 )
 )
        court found the service on AUA to be insufficient. Significantly, AUA
)
)
        had also argued forum non conveniens, claiming that Antigua was the
 )
 )
        proper forum to adjudicate Bromfield-Thompson's Rehabilitation and
)
)
        American With Disabilities claims, supposedly because Antigua had
)
j
        similar statutes. This argument was preposterous given that
)
 )
        Bromfield-Thompson had no contact whatsoever with Antigua and
)
)
        given that the scheduling of the exam and all interactions with
)
)
        Bromfield-Thompson took place through AUA's agent, MEA, LLC from
)
    )
        the New York office.
)
)
             AUA ought to be estopped from disclaiming service be-
)
        cause MEA acted as their agent under legal principles of princi-
)
        pal/agent and had the actual or apparent authority to accept ser-
)
)
        vice on AU A's behalf.
)
)
             A picture is worth a thousand words. The following words are
)
)
        emblazoned in large print on the entrance to AUA/MEA's office:
)
)
)
)
)                                      Page 30 of 42
)
    )
        )
                     Case 20-3855, Document 38, 02/26/2021, 3047205, Page31 of 45
    )
    )
'    )
    )                                MANI PAL EDUCATION
     )
                                       AMERICAS, LLC
     )
     )
                                     AGENT FOR
     )
                                        AUA
     )
                           AMERICAN UNIVERSITY OF ANTIGUA
        )
     )
            As stated previously, App. 66 was time stamped showing that the
     )
     )
            photograph was taken around the time the process server effectuated
    )
    )
            service. When the process server arrived at AUA/MEA offices he told
    )
     )
            the receptionist that he had legal papers for both AUA and MEA, LLC.
    )
    )
            (App. at 64). At this point, the receptionist disappeared to the back
     )
     )
            office and one Ms. Anita O'Brien appeared. At no point did she
     )
    )
            explain that she had no authority to accept service on behalf of AUA.
    )
     )
            Under New York Civil Practice Law and Rules Section 311 service
     )
    )
            may be effected upon any domestic or foreign corporation, to an
    )
     )
            officer, director, managing or general agent, or cashier or assistant
.)
 )
     )
            cashier or to any other agent authorized by appointment or by law to
     )
     )
            receive service .... ". NY CPLR Section 311(2015). Here, MEA, LLC
     )
    -)      was appointed to receive service as is indicated by them having held
     )
     )
            themselves out as agents for AUA. Accordingly, it is irrelevant
     }

    )
                                           Page 31 of 42
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    J

     )
 )
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 )
 )
  )
 )
      whether AUA actually had an office at the location.
  )
  )
           Actual authority is created by direct manifestations from the
 )
 )
      principal to the agent, and the extent of the agent's authority is
  )
  )
      interpreted in the light of all circumstances attending those
  )
 )
      manifestations, including the customs of business, the subject matter,
  )
 )
      and any formal agreement between the parties, and the facts of which
 )
  )
      both parties are aware. Highland Capital Mgmt. LP v. Schneider, 607
  )
 )
      F.3d 322, 327 (2d Cir. 2010), citing Peltz v. SHB Commodities, Inc.,
 )
  )
      115 F.3d 1082, 1088 {2d Cir. 1997). Over the course of a 6-year
  )
  )
      period various Deans, Clinical Coordinators, and other AUA staff
  )
  )
 )
      corresponded with Bromfield-Thompson (hundreds of emails) and in
 )
  )
      virtually every instance listed MEA, LLC as agents of AUA. (See eg.,
 )
  )
      App. 68-73). Nothing in the correspondence received by Bromfield-
  )
      Thompson or for that matter in the interaction with the process server
 J
  )
  )
      indicated that MEA, LLC role as agent for AUA was in any way
 )
  )   circumscribed. Hence, the conclusion that MEA, LLC had the actual
 )
  )
      authority to receive service on behalf of AUA is reasonable.
 )
           However, in the court below AUA submitted a copy of its Service

  \
  )
                                     Page 32 of 42
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 )
    )
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    )
        )
        )
        )
        )
            Agreement with MEA, LLP., with an Attachment labelled "Schedule A."
        )
        )
            That agreement contains a forum selection clause as New York. It
    )
    )
            states in Clause 1(f) that the relationship between the parties is one of
    )
    )
            "independent contractors, and neither party is an employee or
        )
        )
            agent. .. " (App. at 74-79). This agreement is at odds with MEA, LLC
        )
        )
            holding itself out as an agent of AUA in all its correspondence with
        )
    J       Bromfield-Thompson, as well as placing a notice at its entrance door
    )
    )
            that it serves as AUA's agent. Brandon Cleveland and Isiah Jackson
    )
     )
            v. Cap/aw Enterprises, 448 F.2d 518 (2006) citing City of Chicago v.
    J
')
            Matchmaker Real Estate Sales Ctr., Inc. 982 F.2d 1086, 1097-98 (7th
.       )
        )
            Cir. 1982) ( contracting language establishing an "independent
        )
        )
        )
            contractor" relationship insufficient to preclude finding of agency).
        )
        )
            Here, the "independent contractor" language in the service agreement
    )
        )
            is not dispositive of the issue of agency under these circumstances.
        )
    )
                 Schedule A which is attached to the Service Agreement shows
    )
            the breadth of MEA, LLC's responsibilities. (App. at 80-82). This
    l
        )
    )
            includes "orientation services; registrar services; selecting clinical
        \
        J




        )                                   Page 33 of 42
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        e
    /
                       Case 20-3855, Document 38, 02/26/2021, 3047205, Page34 of 45




             sites; furnishing financial aid services; maintaining accounting;

             purchasing information technology services; obtaining business

             licenses; coordinating travel; maintaining student records; selecting
    )
    )
             the academic Provost and Clinical Chairman; acting as bursar;
    )
        )
             obtaining insurance for AUA;and providing such other services " and
    )
    )
             AUA and MEA may agree from time to time." (App. 80-82). Although
    )
    )
             accepting or receiving "service" is not explicitly stated in Schedule A, it
    )
    )
             is not explicitly disclaimed either. Therefore, it is not a stretch to say
    )
    )
             that accepting service may be a duty that M EA was able to perform
    1
     )
             and which activity does fall within the ambit of the catchall provision in
    )
    )
             #12 of Schedule A. In any event, it does not matter, given that
    J
    )
             MEA,LLC has explicitly notified Bromfield-Thompson in all its
     )
.    )
        )
             correspondence that it acted as agent for AUA. If there was no
     )
             agency notice on its entrance door at the time the process server
    )
     )
             entered, this may have been a closer case. If Ms. O'Brien had stated
    )
    )
    )
             that she was willing to accept service for MEA, LLC, but not for AUA a
    l
     )
             different situation would have been created as Bromfield-Thompson
    )
     j
         \   would have had to pursue a different form of service (perhaps
     )
        1
    _/                                       Page 34 of 42
     )
                  Case 20-3855, Document 38, 02/26/2021, 3047205, Page35 of 45
1
 )
 )
1        international service) in order to ensure that her case would not be
 )
)
         dismissed. Given the totality of these circumstances, AUA was
)
 )
         served through its agent, MEA, LLP, which had actual authority to
)
)
         accept service.
)
)
              Defendant proffered the service agreement in the district court as
)
)
         if that sole document was dispositive of the service issue. However,
)
)
         the opposite is true. Since AUA has no offices in New York City it
)
 )
         relies on its agent, MEA, LLC to oversee a panoply of responsibilities
)
)
         including its students who leave the Island of Antigua to pursue their
)
)
         clinical studies in the United States. As previously stated, Bromfield-
 )
)
 )
         Thompson has never been to Antigua either for orientation or for
 )
 )
         course work. Her orientation took place in New York City. She had
-~

 )
         transferred directly into the clinical program operated out of New York
 )
 )
         City under the auspices of MEA, LLC as agent for AUA. (App. 83).
 )
         MEA, LLC had the apparent authority to accept service on behalf
J
)                                   ofAUA
 )
l             AUA has been properly served under the doctrine of apparent
)
)        authority. Recovery based on apparent authority does not require
 )

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                                        Page 35 of 42

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'      )
                    Case 20-3855, Document 38, 02/26/2021, 3047205, Page36 of 45
    )
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·)
           that the third party have inquired into the scope of the agent's
 )
 )
           authority. Whitney v. Citibank, N.A., 782 F.2d 1106, 1115-16 (2d Cir.
1)
(   )
           1986) (absent awareness of facts indicating that a partner is acting
/,)
(J         beyond the scope of his real or apparent authority, a third party is not
_I )


    J      obligated to investigate the matter further or search for some limitation
    J
'.,)
,--)       on that partner's authority). Herbert Construction Company v. Conti
    )
           nental Insurance Company, 931 F.2d 989 (2d. Cir. 1991). Here, given
    J
-J         that MEA, LLC had advertised that it was AUA's agent, the process
    )
    )
           server was under no obligation to inquire as to any limitations regard
    )
·)
           ing agency given the absence of any disclaimer from Ms. O'Brien that
    )
    )
       )
           she was not authorized to accept service. id. Furthermore, at no
    )
    )
           point during Bromfield-Thompson's course of dealings with AUA did
    )
    )
           they ever convey that MEA, LLC was not their agent. In fact, they
    )
    )
           made the opposite affirmations: listing MEA, LLC on all their
    )
           correspondence with Bromfield-Thompson.
    J
       )
                The trial court plainly erred in prematurely dismissing MEA,
    J
    )      LLC from the lawsuit on the ground of failure to state a claim
    )      upon which relief may be granted given that AUA and MEA, LLC
           may have been engaged in a "joint venture" or "independent
    J
    )
    )
                                           Page 36 of 42
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     )
     .)              Case 20-3855, Document 38, 02/26/2021, 3047205, Page37 of 45

     )
     -)
     )
            contractor" relationship with respect to the operation of the med-
     )
            ical school.
     )
     )
                  Under New York law, a "joint venture" "is in a sense a partnership
     )
     )
            for a limited purpose, and it has long been recognized that the legal
     )
     )
            consequences of a joint venture are equivalent to those of a
     )
     )
            partnership." Itel Containers International Corporation, et al. v.
     )
    ·)
            Atlantrafix Express Service Ltd, et al., 909 F.2d (2d Cir. 1990, quoting,
     )
     )
            Gramercy Equities v. Dumont, 72 N.Y.2d 560,534 N.Y.S. 2d 908,911,
     )
    J       531 N.E. 629 (1988).    In order to form a joint venture, the following
     )
    )
            must be present: (1) acts manifesting the intent of the parties (2)
     )
     )
.    )      mutual contribution to the joint venture undertaking; (3) each must
     )
            make a contribution of property, financing, skill, knowledge, or effort;
     )
     )
     )
            (4) each must have some degree of control over the venture; there
     )
     )      must be a provision for sharing both profit and losses. SGS
     )
     )      Communications, Inc. v. Hemick Co., Inc., 360 F.3d 329, 341 (2d Cir.
     )
     )
            2004).
    )
    -)           MEA, LLC contract with AUA has all the hallmarks of a joint
     )
     )      venture agreement, notwithstanding the disclaimer in Clause 7(f)
     )
     )
        )
                                           Page 37 of 42
     )
    ,)
 -)
 -)             Case 20-3855, Document 38, 02/26/2021, 3047205, Page38 of 45

 )
 )
  )
      stating that they are not operating a joint venture. As was previously
 )
 )
      noted, the agreement disclaimed the existence of an agency
 )
 )
      relationship but the parties in all respects conducted themselves as a
_)
 )
      principal and agent to the extent where MEA, LLC even included the
 )
 )
      term"agent for AUA" in correspondence with Bromfield-Thompson and
  )
  )
      on the entrance to its office at 1 Battery Park, New York, New York.
-)
  )
      Clearly then, the terms of the service agreement is not dispositive as
  )
 )
      to their relationship.
 )
 )
            Alternatively, if this court nevertheless chooses to hold that MEA,
 )
 )
      LLC is an "independent contractor" under the actual terms of the
 )
 )
      agreement, then it stands to reason that MEA, LLC is directly liable to
 J
 )
 )
      Bromfield-Thompson under the Rehabilitation and American With
 J
 )
      Disabilities Acts. This is so, because in the years that Bromfield-
 )
 )
      Thompson believed she was interacting with AUA regarding her
 )
 )    clerkships and requests for accommodation it was MEA, LLC making
 )
 )
      the decisions in their capacity as independent contractors, and not
 )
 )    AUA, if their scheme of reasoning is taken to its logical extremes. See
 )
 )    Ian Hernandez v. Chefs Diet Delivery, LLC 81 A.O. 3d 596, 915 N.Y.S.
J
 )                                    Page 38 of 42
J
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                  Case 20-3855, Document 38, 02/26/2021, 3047205, Page39 of 45
 )
    )
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 )
 )
        2d (2011 ). In Hernandez, the lower court was reversed for relying
 )
 )
        exclusively on documentary evidence to establish independent
')
 )
        contractor status. The court noted that the existence of a contract
 )
)       delineating the parties' status ought to be considered, but was not
 -)

    )
        dispositive.
 J
 )
             To the extent that MEA, LLC is solely liable to Bromfield-
 )
 )
        Thompson as an "independent contractor", it does not mean that AUA
 )
 )
        is off the hook since there are legitimate legal issues as to whether
 )
)
        AUA is liable for having engaged in fraudulent misrepresentations
    )
 )
        regarding Bromfield-Thompson's acceptance to the medical school.
 )
.J
 )
        In this regard, Bromfield-Thompson should have been allowed to file
 )
    )
        an amended complaint re-defining the status of each defendant. The
    )
    )
        service agreement was filed in relation to AUA and MEA, LLC's Motion
    )
    )
        to Dismiss the First Amended Complaint. Accordingly, Bromfield-
)
 )      Thompson discovered the existence of the "independent contractor"
 )
    )   relationship too late to include that fact into her amended complaint.
    )
)
        As previously stated, the court was adamant that no further amended
    )

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    )                                   Page 39 of 42
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 )
               Case 20-3855, Document 38, 02/26/2021, 3047205, Page40 of 45
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 )
      complaints would be entertained.
 )
 )
           MEA, LLC should not have been dismissed from the case
 )
 )
      pending discovery on the issue of its true relationship with AUA.
 )
 )
                                    CONCLUSION
 )
 )
           Wherefore, Bromfield Thompson respectfully requests that this
  )
 )
      Honorable Court enter a reversal of the district court's Judgment and
 )
 )
      find that MEA, LLC acted as an agent for AUA when it accepted
 )
-)
      service. This Court should also reverse the district court's Judgment
J
.)
      that Bromfield-Thompson failed to state a claim upon which relief may
 )
 )
      be granted with respect to the dismissal of MEA, LLC since
  )
 )
      MEA, LLC and AUA both agreed under the terms of their Service
 )
 )
      Agreement that MEA was an independent contractor. Thus, all
.)
 J
      decisions regarding Bromfield_Thompson's lack of accommodation
 )
  )
 )
      and termination from AUA were carried out by MEA, LLC.
 )
      Alternatively, to the extent the Court finds that service upon MEA,LLC
 )
 )
 _)
      was insufficient to serve AUA, this court should nevertheless reverse
 )
  )
      the district court and remand the case with instructions to permit
 J
 )
      Bromfield-Thompson to file an amended complaint to the extent she is
 )
 )                                    Page 40 of 42
 J
 )
        )
    )                Case 20-3855, Document 38, 02/26/2021, 3047205, Page41 of 45

    )
    )
    )
        )
            able to perfect service. AUA/MEA, LLC attached the service agree
        )
        )
            ment to their motion to dismiss Bromfield-Thompson's First Amended
        )
        )
            Complaint and by then it was too late to file any additional amended
    )
 )
            complaint based on information learned from the service agreement
 )
 )
            since the trial court had already made it clear that once plaintiff filed
 )
·)
            an amended complaint there would be no further opportunity to
 )
        )
            amend.
        )
    _)
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        )
                                     Respectfully submitted,
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        )
                               Debbie-Ann Bromfield-Thompson
        )
    .   )                        1405 Kennedy Street, N.W.
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                                  Washington, D.C. 20011
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                                        Tel: 202-538-7338
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                  A document filed with the Court must not be longer than the Federal Rules of Appellate Procedure or the
)
                  Court's Local Rules permit. Check the box for the document you arc filing and state the number of
)                 words or pages.
 )
 )                J(     Brief contains ] J../,f?/ words.   [14,000 word limit• LR 32.l(a)(4)(A)], or

  )                      Brief contains I          pages.   [30 page limit - FRAP 32(a)(7)(A)]

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   )              •      Reply Brief contains _ _ _ _ words.
                         Reply Brief contains         pages.
                                                                     [7,000 word limit• LR 32.1 (a) (4)(8)], or
                                                                    [30 page limit • FRAP 32(a)(7)(A)J
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                  •      Writ of Mandamus/Prohibition contains _ _ _ _words.
                         Writ of Mandamus/prohibition contains        pages.
                                                                                                 [7,800 word limit• FRAP 21 (d){l)], or
                                                                                                 [30 page limit- FRAP 21(d)(2)]
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     )            •      Motion or Response to the Motion contains _ _ _ _ words.
                         Motion or Response to the Motion contains.        pages.
                                                                                                     [5,200 word limit• FRAP 27(d)(2)(A)], or
     )                                                                                               [20 11age limit• FRAP 27(d)(2)(B)]

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        )         •      Reply to the Motion co11tains _ _ _ _ wo1·ds. [2,600 word limit• FRAP 27(d)(2)(C~], or
                         Reply to the Motion contains          pages. [10 page limit· FRAP 27(d)(2)(D)]
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         )        •      Petition for Panel or En Banc Hearing contains _ _ _ _ words.
                         Petition for Panel or En Banc Hearing contains         pages.
                                                                                                           (3,900 word limit- FRAP 3Stb)(2){A)], or
                                                                                                           [15 page limit·   FRAP 35(b)(2)(H]
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         J        •      Petition for Panel Rehearing contains _ _ _ _ words.                 [3,900 word limit· FRAP 40 (b)(l)l, or
            )            Petition for Panel Rehearing contains         pages.                [15 page limit· FRAP 40 (b)(2)]
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                            Case 20-3855, Document 38, 02/26/2021, 3047205, Page43 of 45
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 )
 )                                       UNITED COURT OF APPEALS
     )                                        SECOND CIRCUIT
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 )
 )               DEBBIE-ANN BROMFIELD-THOMPSON
 )
                                      APPELLANT,
 )
                                                                  DOCKET NO. 20-3855
  )              v.
 )
 )               AUA/MEA, LLC,
     )
     )
                                      APP ELLE ES.
     )
                                           CERTIFICATE OF SERVICE
         )

     )                  I Debbie-Ann Bromfield-Thompson, I hereby certify under
     )
     )           penalty of perjury, that on February 25th, 2021 I served Appellant's
)
     )           Brief in the above captioned case upon the following counsel:
     )
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         )


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